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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 IN RE MEDIA APPLICATION FOR
 AUDIOVISUAL ACCESS TO TRIAL                          Case No. 23-mc-99 (TSC)
 PROCEEDINGS IN UNITED STATES OF
 AMERICA v. DONALD J. TRUMP


 IN RE APPLICATION OF
 NBCUNIVERSAL MEDIA, LLC TO                           Case No. 23-mc-107 (TSC)
 PERMIT VIDO AND AUDIO OF TRIAL
 PROCEEDINGS IN UNITED STATES v.
 DONALD TRUMP


                UNITED STATES’ REPLY IN OPPOSITION TO
       DEFENDANT DONALD J. TRUMP’S RESPONSE TO APPLICATIONS TO
        BROADCAST THE CRIMINAL TRIAL OF UNITED STATES v. TRUMP

       On November 3, 2023, the United States filed its opposition (ECF No. 16) to applications

by a coalition of media organizations for relief clearly foreclosed under Rule 53 of the Federal

Rules of Criminal Procedure—to record and televise the criminal trial of Donald J. Trump

(“defendant”). On November 10, the defendant responded (ECF No. 19) in support of the

applications. The defendant’s response does not cite a single rule or case in support of his position,

because there are none.      Instead, decrying the alleged unfairness of the unequivocal and

constitutionally-sound broadcast prohibition that has governed federal criminal trials—no matter

the defendant—for decades, the defendant’s response is a transparent effort to demand special

treatment, try his case in the courtroom of public opinion, and turn his trial into a media event.

The Court should reject this attempted distraction and deny the applications.

       Although the defendant pays lip service to proceedings where “every citizen receiv[es] the

same kind of justice,” ECF No. 19 (quoting Chandler v. Florida, 449 U.S. 560, 580 (1981)), he

once again demands special treatment. But the defendant offers no legal argument or case law to
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support his demand that trial in this case be conducted unlike that for every other federal criminal

defendant. His purported interest in “sunlight” (ECF No. 19 at 2, 4) does not cure that defect.

Indeed, the defendant ignores that high-profile federal criminal trials have long proceeded in

accordance with the broadcast prohibition under the rules—and that they have garnered significant

and detailed media coverage of courtroom proceedings nonetheless.            See United States v.

Tsarnaev, 595 U.S. 302, 313 (2022); United States v. Moussaoui, 205 F.R.D. 183, 184 (E.D. Va.

2002); United States v. McVeigh, 931 F. Supp. 753 (D. Colo. 1996). This has remained true in the

context of trials related to the January 6, 2021 attack on the United States Capitol, including on

seditious conspiracy charges. See, e.g., United States v. Rhodes, 610 F. Supp. 3d 29 (D.D.C. 2022);

United States v. Nordean, 579 F. Supp. 3d 28 (D.D.C. 2021). The comprehensive, often minute-

by-minute, public reporting on courtroom hearings in this case provides further evidence that the

defendant’s desired “sunlight” need not come from eschewing the rules.

       These rules apply to every defendant alike. As this Court has made clear, it intends that

the defendant “will be treated exactly, with no more or less deference, than any other defendant

would be treated.” United States v. Trump, No. 23-cr-257, ECF No. 38 at 33. Just like any other

criminal defendant, the defendant may elect to proceed to trial and to put on a defense. He may

elect to file (and indeed has filed) motions related to, among other things, due process, judicial

recusal, trial preparation, and presidential immunity. See ECF No. 19 at 2 (identifying issues that

were or are being briefed by both parties and considered by the Court, when complaining of

“inexcusable constitutional violations as part of a coordinated effort to undermine President

Trump’s candidacy,” and complaining about the apparent denial of a venue change motion that he

has never made). And he may elect to craft court filings with the goal of gathering media coverage

rather than lawful relief from the Court, as he appears to have done on this and many other




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occasions. But neither he nor any other criminal defendant is free to bend or break the rules simply

to advance a goal of “present[ing] his positions in this case to the American public,” ECF No. 19

at 5, rather than to a jury. See Sheppard v. Maxwell, 384 U.S. 333, 350 (1966) (quoting Bridges

v. California, 314 U.S. 252, 271 (1941)) (“legal trials are not like elections, to be won through the

use of the meeting-hall, the radio, and the newspaper.”).

       The defendant peppers his response with various references to “fairness,” but what he

actually seeks is to defy a uniform and longstanding broadcast prohibition that was crafted

precisely with fair and orderly trial proceedings in mind. 1 He desires instead to create a carnival

atmosphere from which he hopes to profit by distracting, like many fraud defendants try to do,

from the charges against him. This scenario is not hypothetical. As the Court has already observed

in proceedings in the defendant’s criminal trial, the defendant and his counsel will, if permitted,

design their in-court statements instead to wage a public relations campaign.            And in the

defendant’s New York state civil fraud trial, the defendant recently used his testimony to condemn

the case as a “political witch hunt,” prompting the judge to admonish that “[t]his is not a political

rally . . ..” 2 The Court should not grant the applications in plain contravention of Rule 53 and

further motivate the defendant and his counsel to make improper statements inside the courtroom

to provoke a public reaction outside of it.

       Although the defendant proclaims that his goal is for the American public to watch the

proceedings in this case (ECF No. 19 at 2, 5), he has consistently made clear his desire to delay

the trial in this case or to ensure that one does not happen at all. See, e.g., No. 23-cr-257, ECF No.



       1
         See Judicial Conference Revises Policy to Expand Remote Access Over Its Pre-COVID
Policy, Admin. Off. of the U.S. Cts., https://perma.cc/S35N-P6GP.
       2
          See NBC News, https://www.nbcnews.com/politics/donald-trump/live-blog/trump-fraud-
trial-live-updates-rcna122520.


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142 at 2-3 (listing defendant’s efforts to delay trial in his criminal case). If the defendant sought

sunlight as he claims, he should welcome the opportunity to put the Government to its proof at

trial. Instead, his response to the applications shows that he will continue to attempt to avoid

answering for his criminal conduct in the courtroom while at the same time publicly grandstanding

on the Court’s docket.

       The Court should decline the defendant’s “demand” (ECF No. 19 at 5) that he be placed

beyond the rules and above the law. And it should avoid the spectacle—and attendant risks of

witness intimidation—that the longstanding rules against courtroom broadcasting are designed to

avoid. For all the reasons stated here and in the Government’s opposition, ECF No. 16, the

applications should be denied.

                                                      Respectfully submitted,

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